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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    HANNAH R. LABAREE, Bar #294338
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     ISAURO JAUREGUI CATALAN
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 06-441 GEB
12
                               Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
13                                                       TO REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     ISAURO JAUREGUI CATALAN,                            RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable GARLAND E. BURRELL, JR.

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               Defendant, ISAURO JAUREGUI CATALAN, by and through his attorney, Assistant
18
     Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and
19
     through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:
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               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
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     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
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     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
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     pursuant to 28 U.S.C. § 994(o);
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               2.         On April 5, 2013, this Court sentenced Mr. Catalan to a total term of 121 months
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     imprisonment;
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               3.         His total offense level was 29, his criminal history category was IV, and the
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     resulting guideline range was 121 to 151 months;
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     Stipulation and Order Re: Sentence Reduction          1
       Case 2:06-cr-00441-DAD Document 561 Filed 12/07/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Catalan was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Catalan’s total offense level has been reduced from 29 to 27, and his amended
5    guideline range is 100 to 125 months. He is subject to the statutory mandatory minimum of 120
6    months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Catalan’s term of imprisonment to a total term of 120 months.
9    Respectfully submitted,
10   Dated: September 17, 2015                          Dated: September 17, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/ Jason Hitt_________                           /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           ISAURO JAUREGUI CATALAN
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     Stipulation and Order Re: Sentence Reduction          2
       Case 2:06-cr-00441-DAD Document 561 Filed 12/07/15 Page 3 of 3



1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Catalan is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
6    guideline range of 100 to 125 months. He is subject to the statutory mandatory minimum of 120
7    months.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in April 2013 is
9    reduced to a term of 120 months.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Catalan shall report to the United States Probation Office
15   within seventy-two hours after his release.
16   Dated: December 4, 2015
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     Stipulation and Order Re: Sentence Reduction        3
